                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION

 IN RE: ROBERT W. GEDDES
        SUSAN M. GEDDES                                                 Case Number: 09-68334
                                                                        Chapter 13
 Debtor.                                                                Judge SHAPERO

                                         /
 ROBERT W. GEDDES and
 SUSAN M. GEDDES,

 Plaintiffs,

 v.                                                                     Adversary Case No. 09-06598

 GREEN TREE SERVICING, LLC, AS SERVICING
 AGENT FOR MORTGAGE ELECTRONIC REGISTRATION
 SYSTEMS, INC. and MORTGAGE ELECTRONIC REGISTRATION
 SYSTEMS, INC. and ALL ASSIGNS

 Defendants.
                                         /



   DEFAULT JUDGMENT DETERMINING THE EXTENT OF THE LIEN AS TO GREEN TREE
        SERVICING, LLC, AS SERVICING AGENT FOR MORTGAGE ELECTRONIC
      REGISTRATION SYSTEMS, INC. and MORTGAGE ELECTRONIC REGISTRATION
                         SYSTEMS, INC. and ALL ASSIGNS

 This matter having come on to be heard upon the application of the Plaintiff pursuant to L.B.R. 9021-1
 (E.D.M.), an affidavit of Default and Default Entry by Clerk having been filed, due notice having been thus
 given, and the court being otherwise fully advised on the premises;

           NOW THEREFORE IT IS HEREBY ORDERED that upon successful completion of Debtor’s
           bankruptcy case number 09-68334 and the Court’s entry of an Order of Discharge in case number
           09-06598, the mortgage in the face amount of $92,300.00, dated July 23, 2005 and recorded
           August 10, 2005 at Liber 17000, Page 514, in the Macomb County Register of Deeds:

               Land situated in the City of Warren, County of Macomb, State of Michigan, to wit:

               LOT 4, RICHTER SUBDIVISION, AS RECORDED IN LIBER 49, PAGES 20 AND 21 OF
               PLATS, MACOMB COUNTY RECORDS, STATE OF MICHIGAN.

               Tax ID: 13-02-426-007

           Commonly known as: 13078 Masonic, Warren, MI 48088


 IT IS FURTHER ORDERED that the amount owed to Defendant shall be treated as a general unsecured
 claim upon timely filing of a proof of claim




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 IT IS FURTHER ORDERED That upon discharge of the Debtor’s bankruptcy case, 09-68334 the
 Defendant shall comply with L.B.R. 2015-5(a)(3)(A)(E.D.M.) and provide to the Debtor a release,
 termination statement, discharge of mortgage, or other appropriate certificate suitable for recording.

 IT IS FURTHER ORDERED the in the event the Defendant does not provide the Debtor a release,
 termination statement, discharge of mortgage, or other appropriate certificate suitable for recording,
 GREEN TREE SERVICING, LLC, AS SERVICING AGENT FOR MORTGAGE ELECTRONIC
 REGISTRATION SYSTEMS, INC. and MORTGAGE ELECTRONIC REGISTRATION
 SYSTEMS, INC. and ALL ASSIGNS may be recorded with the Register of Deeds to discharge the
 mortgage and release the lien held by Defendant.

 IT IS FURTHER ORDERED That if the debtor fails to complete the debtor's Chapter 13 plan and obtain a
 Chapter 13 discharge order in bankruptcy case number 09-68334 this order does not affect the validity or
 enforceability of the Mortgage and may not be used in any subsequent bankruptcy case of the debtor either
 to compel the holder of the Mortgage to execute a discharge of the Mortgage, or to otherwise act as a
 discharge of the Mortgage.

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 Signed on April 30, 2010
                                                            /s/ Walter Shapero
                                                        Walter Shapero
                                                        United States Bankruptcy Judge




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